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Alan J. Kessel (Cal. Bar N
Suzanne M. Burke (Cal. B

Telephone: (949) 760-112

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8 Nov 23 2004

TRICT COURT
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DIRECTV, INC., a California corporation, | Case No. 02-CV-2579 DFL (PAN)

Plaintiff,

VS.

Kimberly R. Colombo (Cal. Bar No.: 210451) FILED
BUCHALTER, NEMER, FIELDS & YOUNGER

A Professional Corporation 4
18400 Von Karman Avenue, Suite 800 roy 2 4 004

Irvine, California 92612-0514
Facsimile: (949) 720-0182 CLERK ES ssa) COURT™

JOHN LAWRENCE, et al.,

Defendants.

(ase 2:02-cv-02579-DFL-PAN YRIGINAL 11/24/04 Page1of4

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ar No.: 188597) ,

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EASTERN vistRic OF CALIFORNIA

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF CALIFORNIA
SACRAMENTO DIVISION

Hon. David F. Levi

REQUEST FOR VOLUNTARY DISMISSAL
OF DEFENDANT JOHN LAWRENCE;
[PROPOSED] ORDER THEREON

Pursuant to

hereby respectfully reques

date.

therefore, cannot unilatera

BNFY 332940v1

Fed. R. Civ. P. 41(a)(2), Plaintiff DIRECTV, Inc. (“DIRECTV”)

ts that the Court enter an Order dismissing the above-captioned action

with prejudice as to Defendant JOHN LAWRENCE (“Defendant”) only. This request is made on
the grounds that Defendant and DIRECTV have entered into an agreement settling this matter.
Pursuant to the terms of that agreement, DIRECTV agreed to voluntarily dismiss this action

against Defendant, each party to bear its own attorneys’ fees and costs incurred in this action to

Defendant answered the Complaint on or about February 20, 2003. DIRECTV,

lly voluntarily dismiss this action against Defendant absent a Court

order. Fed. R. Civ. P. 41(a). Accordingly, DIRECTV respectfully requests the entry of such an

order dismissing Defendant with prejudice. Lk

1 (02-CV-2579 DFL (PAN)

REQUEST FOR VOLUNTARY DISMISSAL OF DEFENDANT JOHN LAWRENCE;

[PROPOSED ORDER THEREON

yes 2:02-cv-02579-DFL-PAN Document 25 Filed 11/24/04 Page 2 of 4

Defendant JOHN LAWRENCE is the last remaining active Defendant in this
action. This entire action as to all remaining claims is therefore terminated in full.]

DATED: November 17, 2004 Respectfully Submitted,

BUCHALTER, NEMER, FIELDS & YOUNGER
A Professional Corporation

By:

Kimberly R. Colombo
Attorneys for Plaintiff DIRECTV, Inc.

ORDER
Having read the foregoing Request for Voluntary Dismissal of Defendant JOHN

LAWRENCE filed by Plaintiff DIRECTV, Inc., and such other pleadings and papers deemed
appropriate by the Court, and GOOD CAUSE appearing therefore, the Court ORDERS as

follows:

1. This action is hereby dismissed with prejudice as against Defendant JOHN
LAWRENCE only;

2. Each party shall bear its own attorney’s fees and costs incurred in this action to
date; and]

3. As Defendant JOHN LAWRENCE is the last remaining active Defendant in this

action, this entire action as to all remaining claims is hereby terminated in full.

On! Yh

Honorable David F. Levi
Judge of the United States District Court
Eastern District of California

DATED: ¢(/23/2004

BNFY 332940v1 2 (02-CV-2579 DFL (PAN)

REQUEST FOR VOLUNTARY DISMISSAL OF DEFENDANT JOHN LAWRENCE;

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Case 2:02-cv-02579-BFL-PAN Document 25 Filed 11/24/04 Page 3 of 4

PROOF OF SERVICE

1 am employed in the County of Orange, State of California. Iam over the age of 18 and
not a party to the within action. My business address is at BUCHALTER, NEMER, FIELDS &
YOUNGER, A Professional Corporation, 18400 Von Karman Avenue, Suite 800, Irvine,
California 92612-0514.

On November 22, 2004, I served the foregoing document described as: REQUEST FOR
VOLUNTARY DISMISSAL OF DEFENDANT JOHN LAWRENCE; [PROPOSED]
ORDER THEREON on all other parties and/or their attorney(s) of record to this action by
placing a true copy thereof in a sealed envelope as follows:

John W. Lawrence, Esq.

John W. Lawrence Attorney At Law
P.O. Box 912

122 Third Street

Yreka, CA 96097

Counsel for Defendant, John Lawrence

{X]} BYMAIL [Tam aresident of, or employed in, the county where the mailing
occurs; I am over the age of 18 years and am not a party to the cause. I am readily familiar
with the business’ practice for collection and processing of correspondence for mailing with the
United States Postal Service. The correspondence will be deposited with the United States
Postal Service this same day in the ordinary course of business. The address(es) shown above
is(are) the same as shown on the envelope. The envelope was placed for deposit in the United
States Postal Service at Buchalter, Nemer, Fields & Younger in Irvine, California. The
envelope was sealed and placed for collection and mailing with first-class prepaid postage on
that date following ordinary business practices.

[X] I declare that I am employed in the office of a member of the bar of this court at
whose direction the service was made.

Executed on November 22, 2004, at Irvine, California.

J

Joanne D. Mealey

(Signature)

BNFY 332940v1 3 (Q2-CV-2579 DFL (PAN)

REQUEST FOR VOLUNTARY DISMISSAL OF DEFENDANT JOHN LAWRENCE;
Case 2:02-cv-02579-DFL-PAN Document 25 Filed 11/24/04 Page 4 of 4
ndd
United States District Court
for the
Eastern District of California
November 24, 2004

* * CERTIFICATE OF SERVICE * *

2:02-cv-02579

Directv Inc
Vv.

Lawrence

I, the undersigned, hereby certify that I am an employee in the Office of
the Clerk, U.S. District Court, Eastern District of California.

That on November 24, 2004, I SERVED a true and correct copy(ies) of

the attached, by placing said copy(ies) in a postage paid envelope
addressed to the person(s) hereinafter listed, by depositing said
envelope in the U.S. Mail, by placing said copy(ies) into an inter-office
delivery receptacle located in the Clerk’s office, or, pursuant to prior
authorization by counsel, via facsimile.

Kimberly R Colombo HV/DFL
Buchalter Nemer Fields and Younger
18400 Von Karman Avenue

Suite 800

Irvine, CA 92612

Jan K Damesyn

Kronick Moskovitz Tiedemann and Girard
400 Capitol Mall

27th Floor

Sacramento, CA 95814-4417

John W Lawrence Esq
PO Box 912
Yreka CA 96097

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Jack L. Wagner, Clerk

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Deputy Clerk

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